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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JEFFREY CRAIG, on behalf of himself
and all others similarly situated,

                Plaintiff,                                   Case No.:

                                                             CLASS ACTION COMPLAINT
       v.
                                                             JURY TRIAL DEMANDED

AMERICAN TUNA, INC.

                Defendant.


       Plaintiff, Jeffrey Craig (“Plaintiff”), on behalf of himself and all others similarly situated

(“Class Members”) brings this action for damages and equitable relief against American Tuna,

Inc. (“American Tuna” or “Defendant”).

                                   NATURE OF THE CASE

       1. Standing in the supermarket aisle and considering a can of “American Tuna,” with its

large American flag and “Caught and Canned in America” label, a reasonable consumer would

understand this tuna to be caught and canned in America. There would be no reason to suspect

this tuna is caught and canned anywhere else other than America.

       2. Consumers, including Plaintiff and Class Members, seek high quality food,

particularly when purchasing healthy foods such as tuna. These consumers are willing to pay a

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premium for top-quality, locally-sourced tuna caught in American waters and processed in

American factories.

        3.     Many consumers feel safer knowing that their tuna was caught in American waters

and processed in American factories, as opposed to less regulated non-American waters and

factories.

        4. Plaintiff and consumers willingly pay a premium for food products that purport to be

locally sourced and processed, such as American Tuna, for their health and well‐being.

        5. American Tuna represents that its tuna is caught in America -- and therefore caught in

American waters -- when it is not.

        6. American Tuna represents that its tuna is canned in America when much of it is

canned in Thailand, Costa Rica, Vietnam and other countries.

        7. All American Tuna brand products (the “American Tuna Products”) are labeled

“Caught and Canned in the USA,” “Caught and Canned in America,” “American Made” or

“100% American Made.” In reality, however, American Tuna sources an enormous volume of

tuna from international waters and the territorial waters of other countries, and much of this tuna

is canned in other countries as well. As a result, American Tuna is deceiving consumers when it

labels and markets its products as Caught and Canned in the USA, Caught and Canned in

America, American Made or 100% American Made.

        8. It is not only the labeling that is false and deceptive. Defendant’s website also

contains misleading claims about the source of its tuna. For example, as recently as May of

2021, the homepage of Defendant’s website claimed that American Tuna sources its “premium

quality” tuna from the “American Pacific Northwest.” The full statement on American Tuna’s

homepage read:



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                                     Premium Quality

       We source only the most premium pole and line tuna from the MSC certified
       American Albacore Fishing Association (AAFA) fishery in the American Pacific
       Northwest. All of our products are hand processed in Oregon & Washington
       State, custom labeled & cans coded for maximum transparency & safety.




American Tuna altered “American Pacific Northwest” to “North Pacific Ocean” in or around

May of 2021. The current American Tuna website now displays the following on its homepage:




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       9. The company itself is called “American Tuna” and its logo consists of a fish on a

large American flag background:




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        10. Viewed in context of the false labeling and false marketing, the logo and name of the

company add to the mirage that this tuna is caught in American waters and canned in American

factories.

        11. The overwhelming impression created by American Tuna is that all of its tuna is

caught and processed here. This false impression enables American Tuna to charge significantly

more than other companies that label and market their tuna products properly.

        12. Defendant’s representations are material. Consumers – including Plaintiff – purchase

American Tuna Products because Defendant represents that the tuna is caught and processed in

America. If Defendant disclosed the material facts concerning these products, including that

they are not caught and processed in America, consumers like Plaintiff would not have

purchased Defendant’s tuna products or paid a premium for them.



                                JURISDICTION AND VENUE

        13. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 and 1453,

because this is a class action, as defined by 28 U.S.C § 1332(d)(1)(B), in which a member of the

putative class is a citizen of a different state than Defendant, and the amount in controversy

exceeds the sum or value of $5,000,000, excluding interest and costs. See 28 U.S.C. §

1332(d)(2).

        14. Venue is proper in this district pursuant to 28 U.S.C § 1391(a) and (b), because a

substantial part of the events giving rise to Plaintiff’s claims occurred in this District, and

Defendant is subject to personal jurisdiction in this District. Plaintiff purchased Defendant’s

products in New York County and Westchester County.




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                                           PARTIES

       15. Plaintiff, Jeffrey Craig, resides in Bergen County, NJ.

       16. American Tuna, Inc. is a California corporation with its principal place of business

located at 4364 Bonita Rd. #331, Bonita, CA 91902.

       17. American Tuna was incorporated in 2004. Its products are sold throughout the United

States in major retail stores such as Whole Foods, Walmart and Stop & Shop, and through online

retailers including Amazon.

       18. Defendant is engaged in advertising, marketing, distributing, and selling its products

to hundreds of thousands of consumers nationwide, including New York.



                                 FACTUAL ALLEGATIONS

       19. Plaintiff regularly purchased American Tuna Products over the last several years from

various supermarkets throughout New York State, including in Manhattan and Westchester

County. Plaintiff purchased these products in reliance on the “Caught and Canned in the USA,”

“Caught and Canned in America,” “American Made” and “100% American Made”

representations contained on the packaging and in Defendant’s marketing. Plaintiff has since

learned that American Tuna Products are caught in non-American waters and canned in non-

American factories. He would not have paid a premium for American Tuna Products had he

known that Defendant’s claims regarding the sourcing and processing of the tuna were false.

       20. Defendant expressly labels its American Tuna Products as “Caught and Canned in the

USA,” “Caught and Canned in America,” “American Made,” or “100% American Made.”

Examples of American Tuna Products are reproduced below:




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               American Tuna No Salt Added Pole Caught Wild Albacore1




1
 https://www.amazon.com/American-Tuna-No-Salt-
Added/dp/B00TSTDP60/ref=sr_1_5_0o_wf?crid=19RYRA56LU2YN&dchild=1&keywords=american+tuna&qid=
1635867919&qsid=141-1241904-7087539&sprefix=american+tuna%2Caps%2C566&sr=8-
5&sres=B00TSTDP60%2CB003IWV3U8%2CB005LR02VE%2CB07693CXLB%2CB00TSSVPOU%2CB003IM
G41Q%2CB00TSTOY60%2CB003L1KAUK%2CB087SJQS4C%2CB00TSPO17G%2CB00SQCOB3Q%2CB00A
8I7AIY%2CB0889QWYW2%2CB001SB8AZC%2CB00KI3FFJ0%2CB07FK3JP8V%2CB08L6TS72Q%2CB00K
PWFYN6%2CB01FUWYO2M%2CB00E7D05Q0&srpt=FISH (last visited November 2, 2021).

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                   American Tuna Jalapeno Pole Caught Wild Albacore2




2
 https://www.amazon.com/American-Tuna-Certified-Sustainable-
Albacore/dp/B00TSPO17G/ref=sr_1_2?crid=NLEE0E4N294J&dchild=1&keywords=american+tuna+jalapeno&qid
=1635868652&qsid=141-1241904-7087539&sprefix=american+tuna+jalapeno%2Caps%2C57&sr=8-
2&sres=B00TSPO17G%2CB087SK55BF%2CB00TSSVPOU%2CB001SB8AZC%2CB07NP7HB2T%2CB07611P
ST7%2CB003IWV3U8%2CB07BB3CS4L%2CB005LR02VE%2CB003IMG41Q%2CB01KOPMAIU%2CB00PE
DABT8%2CB0846LDP4Z%2CB019JNH5X8%2CB00E3QNH8O%2CB07QN7Z5QB%2CB00PEGEJFM%2CB07
NNMXHP9%2CB00E6WYNYW%2CB081JBKTDL&srpt=FISH (last visited November 2, 2021).

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                    American Tuna Garlic Pole Caught Wild Albacore3




3
 https://www.amazon.com/American-Tuna-Certified-Sustainable-
Albacore/dp/B0889QWYW2/ref=sr_1_6?crid=FCEFZPPDAF9B&dchild=1&keywords=american+tuna+garlic&qid
=1635868871&qsid=141-1241904-7087539&sprefix=american+tuna+garlic%2Caps%2C55&sr=8-
6&sres=B00A8I7AIY%2CB0889QWYW2%2CB00LUXFYQG%2CB06XWXJPBT%2CB07H7QX7VS%2CB001
SB8AZC%2CB003IWV3U8%2CB00TSSVPOU%2CB07CT3CWRV%2CB005LR02VE%2CB009UB1J1O%2CB0
7G8SC2JJ%2CB0052P1E1M%2CB003IMG41Q%2CB00PEDABT8%2CB079G2PVP4%2CB0846LHSJC%2CB0
0GG7SXXM%2CB019JNHEZW%2CB07693QMK5&srpt=FISH (last visited November 2, 2021).

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                   American Tuna Pole Caught Wild Albacore With Sea Salt4




4
 https://www.wholefoodsmarket.com/product/american-tuna-pole-caught-albacore-tuna-with-salt-b07693cxlb (last
visited November 2, 2021.

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       21. Defendant’s labeling would lead any reasonable consumer to believe that all

American Tuna Products are caught and canned in America.

       22. Bolstering American Tuna’s deceptive labeling is marketing that creates the

impression that America Tuna’s fish is caught in American waters. For example, as discussed

above in Paragraph 8, Defendant’s website -- until in or about May of 2021-- claimed that

American Tuna sources its tuna from fisheries in the “American Pacific Northwest.” Any

reasonable consumer would interpret this to mean the fish is caught in the American Pacific

Northwest. Confirming American Tuna’s intent to create the impression that its fish is caught in


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the American Pacific Northwest is the following language that had been displayed on the

“American Tuna Biography" section of the American Tuna website until at least May 2021:

               American Tuna is caught using the MSC Certified Sustainable
               Pole & Line Harvest Method in the U.S. Pacific Northwest.

       23. American Tuna recognizes that tuna derived from outsourced fishing and canning is

of lower quality. The American Tuna website stated, until at least May of 2021, the following:

               Local Initiatives: The quality of canned tuna has decreased over the
               last few decades as almost all commercial tuna fishing and canning has
               been outsourced to foreign countries. Unknown to many, the fact the
               West Coast of the U.S. was the Tuna Capital of the World for almost a
               hundred years. This transition to foreign flagged vessels led to the
               decline of west coast fishing communities and a subsequent decline in
               the quality of canned tuna in general. The West Coast of the U.S. is
               reliant on this fishery to support the small ports and towns that make
               up this beautiful coastline. Supporting American Tuna is supporting
               the preservation of artisanal fishermen, micro-canneries, and fishing
               families who helped pioneer the West Coast of the U.S.

This language is deceptive in several ways. First, “Local Initiatives” implies the fish is caught

and canned locally, when it is not. Second, the emphasis on decreased tuna quality as a result of

outsourcing implies that American Tuna is not outsourcing and that therefore its tuna is of higher

quality. In fact, American Tuna is not catching its tuna where it claims to be – i.e., “the USA,”

“America,” “the American Pacific Northwest” or the “U.S. Pacific Northwest.” Moreover, much

of the canning has been outsourced as well. Third, the invocation of the “beautiful coastline”

along the “West Coast of the U.S.” conditions the consumer to believe that the fish is caught

along the coastline of the U.S. West Coast when it is not.


       24. Current language on the American Tuna website continues to promote the idea that

American Tuna’s fish is caught locally. For example, the “About Us” section of the current




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American Tuna website displays a heading that states in large, bold letters: “Local Sourcing.”

The paragraph states:

              Local Sourcing
              Our tuna is 100% responsibly and sustainably sourced. AT purchases and
              processes our tuna from MSC certified one-by-one caught albacore from the
              American Albacore Fishing Association (AAFA) MSC certified fishery. AAFA is
              comprised of 100% U.S certified one-by-one vessels. We are pioneers in
              sustainable sourcing of tuna. AAFA was the first tuna fishery in the world to
              obtain the MSC certification (marine stewardship council, MSC.org) for
              sustainability in September of 2007 and American Tuna was the first MSC
              labelled canned tuna in the U.S.




This heading is deceptive, as the tuna is not sourced from American waters. The paragraph

refers to “certification” by the “MSC” (Marine Stewardship Council) and indicates that the fish

is caught by “100% U.S certified one-by-one vessels.” None of this, however, is akin to locally

sourced. Local means from the immediate area. No reasonable consumer would consider tuna

caught in international waters to be locally sourced. The “certification” language under the term

“Local Sourcing” is designed to make a reasonable consumer believe that American Tuna’s


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“Caught in the USA” claims have been authenticated, when in reality all that is being certified is

the that the fish was caught “sustainably” and by a US-flagged vessel. Neither MSC nor AAFA

is certifying that American Tuna’s tuna is caught in American waters. Other tuna companies

who catch their tuna on US-flagged vessels label their products as, for example, “US-Line

Caught.” The company below explains with its labeling that the tuna is caught by “U.S.-flagged

fishing boats” and then refers to the same MSC certification that American Tuna is deceptively

using to validate its claims that the fish is “Caught and Canned in the USA,” “Caught and

Canned in America,” “American Made” and “100% American Made” and sourced from the

“American Pacific Northwest” and the “U.S. North Pacific”:




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Unlike American Tuna, Blue Harbor, although catching its tuna with U.S.-flagged vessels, does

not claim its tuna to be “Caught and Canned in the USA,” “Caught and Canned in America,”

“American Made” and “100% American Made” and sourced from the “American Pacific

Northwest” and the “U.S. North Pacific.” Instead, it makes it clear to the consumer that its tuna

is simply “Packed in America” and caught with U.S-flagged vessels.

       25. American Tuna also uses social media to perpetuate the narrative that its tuna is

caught in American waters and processed locally. For example, American Tuna’s Instagram

page displays the following posts, which include the following language: “Caching [sic]


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#albacoretuna #oneatatime in the #american #pacificnorthwest ain’t easy. But somebody’s gotta

do it” and “Here at #americantuna we are currently catching beautiful #americanalbacore off the

coast of the #American Pacific Northwest and canning that tuna as quickly as possible for our

customers. You won’t see a post like this from any other major brand.”




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These posts would lead any reasonable consumer to believe that the tuna is caught in the waters

of the American Pacific Northwest and canned in America. In the context of the labeling and

other marketing, no reasonable consumer would expect American Tuna to be caught or canned

anywhere else besides America.

       26. American Tuna Products are described on Amazon as “Caught & canned in America”

and “caught in U.S. North Pacific,” which is consistent with how American Tuna markets and

labels. For example:




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       27. As evidenced by the following customer reviews, consumers are willing to pay much

more for tuna that they believe has been sourced from and processed in America, because they

feel it is safer and of higher quality than non-American tuna:




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       28. The following Amazon customer Q&A demonstrates how the labeling directly creates

the belief in consumers that the tuna is caught and processed in the USA. As they should,

consumers believe what the can says, and they repeat this information as fact:

               Question:      What’s the country of origin?

               Answer:        The can reads “Caught and canned in the USA. Pole and troll
                              caught by certified sustainable US vessels. Packed in Oregon.”
                              By Janice B on March 19, 2015

                              Caught, cleaned and processed in the USA by American
                              families.
                              By Sonja G. on March 13, 2015

Through its labeling, American Tuna created these false impressions, which continue to be

displayed on Amazon today.




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       29. American Tuna is more expensive than other line caught tuna brands that label and

market properly. For example, Wild Planet Albacore Wild Tuna – Sustainably Pole and Line

Caught labels its cans as “Fish Caught in the North Pacific or Coastal New Zealand – Processed

in Thailand”:




                                             30
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A 5 oz can of Wild Planet Albacore Wild Tuna Sustainably Pole and Line Caught No Salt Added

currently costs $3.54 at Walmart ($0.71 per oz):




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A 6 oz can of American Tuna Pole Caught Wild Albacore No Salt Added currently costs $6.24

at Walmart ($1.04 per oz):




Therefore, although neither Wild Planet nor American Tuna is actually caught or processed in

America, American Tuna is able to charge $0.33 more per ounce (approximately, a 32%

premium) because it represents itself as being caught in America.        As the above reviews

demonstrate, consumers, although cognizant of the higher price, are willing to pay for the safety

and quality of what they believe to be American-sourced tuna.

       30. Blue Harbor, as shown above, does not claim its fish is caught in American waters,

but instead with US-flagged vessels and “Packed in America.” A 4.6 oz can of Blue Harbor

Wild Albacore Solid White Tuna in Water No Salt Added currently costs $2.99 for a 4.6 oz can

at Stop & Shop ($0.65 cents per oz):




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Therefore, American Tuna is able to charge $0.39 more per ounce than Blue Harbor

(approximately, a 38% premium) because American Tuna represents itself as being both caught

and processed in America.

       31. Defendant misled and continues to mislead consumers about the sourcing and

processing of American Tuna Products. By careful design, the overall effect of the American

Tuna brand is to lead consumers to believe that all American Tuna Products are caught and

processed in America. In reality, a huge volume of this tuna is caught in international waters and

the territorial waters of other countries, and much of it is processed in Thailand, Costa Rica,

Vietnam, etc.

       32. Joel Cardoza, American Tuna’s Chief Operating Officer, admits that their tuna is

being caught in international waters and must clear customs to enter the United States.

Specifically, in discussing where the tuna is caught, Mr. Cardoza states during an interview at

American Tuna’s warehouse in San Diego:



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                  [H]ow the guys know Dottie is when they come in from…when they go to
                  international waters, when they come back into U.S. waters, she actually helps
                  them clear customs…so and this is actually a bonded warehouse so shipments
                  come in here and then get inspected by customs too as well. 5

          33. American Tuna’s opportunistic labeling and marketing leaves the overwhelming

impression that its tuna is caught in American waters and canned in American factories. And this

is exactly the impression Defendant intended to leave all along through its name, logo, labeling

and marketing. The law is designed to protect consumers from this type of false representation

and predatory conduct.

                                  CLASS ACTION ALLEGATIONS

          34. Plaintiff seeks relief in his individual capacity and as representative of all others who

are similarly situated. Pursuant to Rules 23(a), 23(b)(2) and/or 23(b)(3) of the Federal Rules of

Civil Procedure, Plaintiff seeks certification of the following classes:

             i.   The Nationwide Class
                  All persons residing in the United States and its territories who
                  purchased American Tuna Products during the applicable
                  limitations period primarily for personal, family, or household
                  purposes, and not for resale.

            ii.   The New York Class
                  All persons residing in New York State who purchased American
                  Tuna Products during the applicable limitations primarily for
                  personal, family, or household purposes, and not for resale.

          35. Excluded from the Classes are current and former officers and directors of Defendant,

members of the immediate families of the officers and directors of Defendant, Defendant’s legal

representatives, heirs, successors, assigns, and any entity in which they have or have had a

controlling interest. Also excluded from the Class is the judicial officer to whom this lawsuit is

assigned.



5
    https://www.youtube.com/watch?v=7kWrD0MOLtI (last visited November 3, 2021)

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        36. Plaintiff reserves the right to revise the Class definition based on facts learned in the

course of litigating this matter.

        37. This action is proper for class treatment under Rules 23(b)(1)(B) and 23(b)(3) of the

Federal Rules of Civil Procedure. While the exact number and identities of other Class Members

are unknown to Plaintiff at this time, Plaintiff is informed and believes that there are hundreds of

thousands of Class Members. Thus, the Class is so numerous that individual joinder of all Class

Members is impracticable.

        38. Questions of law and fact arise from Defendant’s conduct described herein. Such

questions are common to all Class Members and predominate over any questions affecting only

individual Class Members and include:

             a. whether Defendant’s claims that American Tuna Products are caught and canned

                 in America are deceptive;

             b. whether the deceptive labeling and marketing of American Tuna Products

                 violates federal, state and/or common law;

             c. whether Defendant engaged in labeling and marketing practices intended to

                 deceive the public by leading consumers to believe that American Tuna Products

                 are caught and canned in America;

             d. whether members of the public were likely to be deceived by Defendant’s

                 labeling and marketing;

             e. whether Defendant received a benefit from Plaintiff and Class Members;

             f. whether it would be unjust for Defendant to retain such a benefit;

             g. whether Defendant injured Plaintiff and Class Members and the appropriate

                 measure of those damages;



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            h. whether punitive damages are appropriate; and

            i. whether injunctive relief is appropriate and what specific injunctive relief should

                be ordered.

       39. Plaintiff’s claims are typical of those of the Class Members because Plaintiff and the

other Class Members sustained damages arising out of the same wrongful conduct, as detailed

herein. Plaintiff purchased American Tuna Products during the Class Period and sustained

similar injuries arising out of Defendant’s conduct in violation of New York State and federal

law. Defendant’s unlawful, unfair and fraudulent actions concern the same business practices

described herein irrespective of where they occurred or were experienced. The injuries of the

Class were caused directly by Defendant’s wrongful misconduct.              In addition, the factual

underpinning of Defendant’s misconduct is common to all Class Members and represents a

common thread of misconduct resulting in injury to all members of the Class. Plaintiff's claims

arise from the same practices and course of conduct that give rise to the claims of the members

of the Class and are based on the same legal theories.

       40. Plaintiff will fairly and adequately represent and pursue the interests of the Class and

has retained competent counsel experienced in prosecuting consumer fraud class actions.

Plaintiff understands the nature of his claims herein, has no disqualifying conditions, and will

vigorously represent the interests of the Class. Neither Plaintiff nor Plaintiff's counsel have any

interests that conflict with or are antagonistic to the interests of the Class. Plaintiff has retained

highly competent and experienced class action attorneys to represent his interests and those of

the Class. Plaintiff and Plaintiff's counsel have the necessary financial resources to adequately

and vigorously litigate this class action, and Plaintiff and counsel are aware of their fiduciary




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responsibilities to the Class and will diligently discharge those duties by vigorously seeking the

maximum possible recovery for the Class.

       41. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The damages suffered by any individual Class Member are too

small to make it economically feasible for an individual Class Member to prosecute a separate

action, and it is desirable for judicial efficiency to concentrate the litigation of the claims in this

forum. Furthermore, the adjudication of this controversy through a class action will avoid the

potentially inconsistent and conflicting adjudications of the claims asserted herein. There will be

no difficulty in the management of this action as a class action.

       42. The prerequisites to maintaining a class action for injunctive relief or equitable relief

pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive or equitable relief with

respect to the Class as a whole.

       43. The prerequisites to maintaining a class action for injunctive relief or equitable relief

pursuant to Rule 23(b)(3) are met, as questions of law or fact common to the Class predominate

over any questions affecting only individual members, and a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.

       44. The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.

Additionally, individual actions may be dispositive of the interest of all members of the Class,

although certain Class Members are not parties to such actions.

       45. Defendant’s conduct is generally applicable to the Class as a whole and Plaintiff

seeks, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s



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systematic policies and practices make declaratory relief with respect to the Class as a whole

appropriate.

                                     CAUSES OF ACTION

                                            COUNT I

                            BREACH OF EXPRESS WARRANTY

       46. Plaintiff brings this count on behalf of himself and the Class, and alternatively, the

Subclass, and repeats and re‐alleges all previous paragraphs, as if fully included herein.

       47. Defendant labeled, marketed, distributed and sold American Tuna Products,

and Plaintiff and Class Members purchased American Tuna Products.

       48. Defendant represented in the labeling, marketing, advertising, and promotion of its

American Tuna Products that the products were “Caught and Canned in the USA,” “Caught and

Canned in America,” “American Made” and “100% American Made” and sourced from the

“American Pacific Northwest” and the “U.S. North Pacific.” Defendant made these

representations to induce Plaintiff and Class Members to purchase American Tuna Products,

which did in fact induce Plaintiff and other Class Members to purchase American Tuna Products.

       49. Consumers like Plaintiff and Class Members who pay a premium for American Tuna

Products base their purchasing decisions on what the labeling, marketing, advertising, and

promotion claim.

       50. Accordingly, Defendant’s representations that the America Tuna Products are caught

and canned in America became part of the basis of the bargain between Defendant and Plaintiff

and other Class Members.




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       51. The American Tuna Products did not conform to Defendant’s representations and

warranties regarding “Caught and Canned in America,” “Caught and Canned in the USA,” etc.

because at all relevant times American Tuna was not caught and canned in America.

       52. As a direct and proximate result of Defendant’s breach of warranties, Plaintiff and the

other Class Members have suffered damages in an amount to be determined by the Court and/or

jury, in that, among other things, they purchased and paid for products that did not conform to

what Defendant promised in its promotion, marketing, advertising and labeling, and they were

deprived of the benefit of their bargain and spent money on products that had less value than

warranted or products that they would not have purchased and used had they known the true

facts about them.

                                            COUNT II

                            NEGLIGENT MISREPRESENTATION

       53. Plaintiff realleges and incorporates by reference the allegations contained in all

preceding paragraphs of this Complaint and further alleges as follows:

       54. Defendant, directly or through their agents and employees, made false

representations, concealments, and nondisclosures to Plaintiff and members of the Class.

       55. In making the representations of fact to Plaintiff and members of the Class described

herein, Defendant has failed to fulfill its duties to disclose the material facts set forth above. The

direct and proximate cause of this failure to disclose was Defendants’ negligence and

carelessness.

       56. Defendant, in making the misrepresentations and omissions, and in doing the acts

alleged above, knew or reasonably should have known that the representations were not true.




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Defendant made and intended the misrepresentations to induce the reliance of Plaintiff and

members of the Class.

        57. Plaintiff and members of the Class relied upon these false representations and

nondisclosures by Defendant when purchasing American Tuna Products, which reliance was

justified and reasonably foreseeable.

        58. As a result of Defendant’s wrongful conduct, Plaintiff and members of the Class have

suffered and continue to suffer economic losses and other general and specific damages,

including but not limited to the amounts paid for American Tuna Products, and any interest that

would have been accrued on those monies, all in an amount to be determined according to proof

at time of trial.

                                             COUNT III

                                    UNJUST ENRICHMENT

        59. Plaintiff realleges and incorporates by reference the allegations contained in all

preceding paragraphs of this Complaint and further alleges as follows:

        60. Plaintiff asserts this claim in the alternative in the event that the Court concludes that

Plaintiff lacks an adequate remedy at law.

        61. Plaintiff brings this claim individually, as well as on behalf of members of the Class.

Although there are numerous permutations of the elements of the unjust enrichment cause of

action in the various states, there are few real differences. In all states, the focus of an unjust

enrichment claim is whether the defendant was unjustly enriched. At the core of each state’s law

are two fundamental elements – the defendant received a benefit from the plaintiff and it would

be inequitable for the defendant to retain that benefit without compensating the plaintiff. The

focus of the inquiry is the same in each state. Since there is no material conflict relating to the



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elements of unjust enrichment between the different jurisdictions from which class members will

be drawn, New York law may be applied to the claims of the Nationwide Class.

       62. In the alternative, Plaintiff brings this claim individually as well as on behalf of the

New York Subclass under New York law.

       63. At all times relevant hereto, Defendant deceptively labeled, marketed, and advertised

American Tuna Products as “Caught and Canned in the USA”, “Caught and Canned in

America”, “American Made”, “100% American Made” and sourced from the “American Pacific

Northwest” and the “U.S. North Pacific.”

       64. Defendant received certain monies as a result of its uniform deceptive labeling and

marketing of its products that are excessive and unreasonable.

       65. Plaintiff and the Class conferred a benefit on Defendant through purchasing its

purportedly American caught and canned tuna and Defendant had knowledge of this benefit and

has voluntarily accepted and retained the benefits conferred on it.

       66. Defendant will be unjustly enriched if it is allowed to retain such funds, and each

Class Member is entitled to an amount equal to the amount they enriched Defendants and for

which Defendant has been unjustly enriched.

                                           COUNT IV

            VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 349
               (DECEPTIVE AND UNFAIR TRADE PRACTICES ACT)

       67. Plaintiff realleges and incorporates by reference the allegations contained in all

preceding paragraphs of this Complaint and further alleges as follows:

       68. Plaintiff brings this claim individually and on behalf of the other members of the

Subclass for violations of New York’s Deceptive Acts or Practices Law, Gen. Bus. Law § 349.




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          69. The practices employed by Defendant, whereby Defendant labeled, advertised,

promoted, and marketed its products as “Caught and Canned in the USA,” “Caught and Canned

in America,” “American Made” and “100% American Made” and sourced from the “American

Pacific Northwest” and the “U.S. North Pacific” are deceptive and misleading and are in

violation Gen. Bus. Law § 349.

          70. The foregoing deceptive acts and practices were directed at consumers.

          71. As a result of the repeated violations described herein, Defendant received and

continues to receive unearned commercial benefits at the expense of their competitors and the

public.

          72. Plaintiff and the other Class Members suffered a loss as a result of Defendant’s

deceptive and unfair trade acts. Specifically, as a result of Defendant’s deceptive and unfair trade

acts and practices, Plaintiff and the other members of the Subclass suffered monetary losses

associated with the purchase of American Tuna Products, i.e., the purchase price of the product

and/or the premium paid by Plaintiff and the Subclass for said products.


                                             COUNT V

INJUNCTION FOR VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW § 349
           (DECEPTIVE AND UNFAIR TRADE PRACTICES ACT)


          73. Plaintiff realleges and incorporates by reference the allegations contained in all

preceding paragraphs of this Complaint and further alleges as follows:

          74. Plaintiff brings this claim individually and on behalf of the other members of the

Subclass for an injunction for violations of New York’s Deceptive Acts or Practices Law, Gen.

Bus. Law § 349 (“NY GBL”).




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       75. NY GBL § 349 provides that deceptive acts or practices in the conduct of any

business, trade or commerce or in the furnishing of any service in this state are unlawful.

       76. Any person who has been injured by reason of any violation of the NY GBL may

bring an action in his own name to enjoin such unlawful act or practice, an action to recover his

actual damages or fifty dollars, whichever is greater, or both such actions. The court may, in its

discretion, increase the award of damages to an amount not to exceed three times the actual

damages up to one thousand dollars if the court finds the defendant willfully or knowingly

violated this section. The court may award reasonable attorney's fees to a prevailing plaintiff.

       77. The practices employed by Defendant, whereby Defendant labeled, advertised,

promoted, and marketed its tuna as being “Caught and Canned in the USA,” “Caught and

Canned in America,” “American Made” and “100% American Made” and sourced from the

“American Pacific Northwest” and the “U.S. North Pacific” are unfair, deceptive, and misleading

and are in violation of the NY GBL § 349.

       78. Defendant should be enjoined from labeling, marketing, promoting and advertising

American Tuna Products as being “Caught and Canned in the USA,” “Caught and Canned in

America,” “American Made” and “100% American Made” and sourced from the “American

Pacific Northwest” and the “U.S. North Pacific” pursuant to NY GBL § 349.

       79. Under all of the circumstances, Defendant’s conduct in employing these unfair and

deceptive trade practices was malicious, willful, wanton and outrageous such as to shock the

conscience of the community and warrant the imposition of punitive damages.

       80. Defendant’s actions impact the public interest because Plaintiff and members of the

New York Subclass were injured in exactly the same way as thousands of others purchasing




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American Tuna Products as a result of and pursuant to Defendant’s generalized course of

deception.

       81. Plaintiff, on behalf of himself and all others similarly situated, respectfully demands a

judgment enjoining Defendant’s conduct, awarding costs of this proceeding and attorneys’ fees,

as provided by NY GBL, and such other relief as this Court deems just and proper.


                                             COUNT VI

                      VIOLATION OF NEW YORK GEN. BUS. LAW § 350

       82. Plaintiff brings this Count individually and on behalf of the members of the New

York Subclass against Defendant and repeats and re‐alleges all previous paragraphs, as if fully

included herein.

       83. Based on the foregoing, Defendant has engaged in consumer‐oriented conduct that is

deceptive or misleading in a material way and which constitutes false advertising in violation of

Section 350 of the New York General Business Law.

       84. Defendant’s false, misleading, and deceptive statements and representations of fact

include, but are not limited to, the representations that the American Tuna Products were

“Caught and Canned in the USA,” “Caught and Canned in America,” “American Made” and

“100% American Made” and sourced from the “American Pacific Northwest” and the “U.S.

North Pacific.” Defendant directed these representations to consumers through packaging, labels

and other marketing and advertising.

       85. Defendant’s false, misleading, and deceptive statements and representations of fact,

including but not limited to the representations that the American Tuna products,” were “Caught

and Canned in the USA,” “Caught and Canned in America,” “American Made” and “100%




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American Made” and sourced from the “American Pacific Northwest” and the “U.S. North

Pacific” are likely to mislead a reasonable consumer acting reasonably under the circumstances.

       86. Defendants’ false, misleading, and deceptive statements and representations of fact,

including but not limited to the representations that the American Tuna Products, were “Caught

and Canned in the USA,” “Caught and Canned in America,” “American Made” and “100%

American Made” and sourced from the “American Pacific Northwest” and the “U.S. North

Pacific” have resulted in consumer injury or harm to the public interest.

       87. Plaintiff and members of the New York Subclass were injured because: (a) they

would not have purchased the American Tuna Products, or would not have purchased the

American Tuna Products on the same terms, had they known that the American Tuna

Products in fact were not caught and canned in America ; (b) they paid a price premium for the

American Tuna Products based on Defendant’s false and misleading statements; and (c) the

American Tuna Products did not have the characteristics and benefits promised because they

were not caught and canned in America.

       88. As a result, Plaintiff and the New York Subclass have been damaged in an amount to

be proven at trial, but not less than either the purchase price of the American Tuna Products or,

alternatively, the difference in value between the American Tuna Products as advertised and the

American Tuna Products as actually sold.

       89. As a result of Defendant’s false, misleading, and deceptive statements and

representations of fact, including but not limited to the representations that the American Tuna

Products were “Caught and Canned in the USA,” “Caught and Canned in America,” “American

Made” and “100% American Made” and sourced from the “American Pacific Northwest” and




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the “U.S. North Pacific,” Plaintiff and members of the New York Subclass have suffered and

continue to suffer economic injury.

       90. Plaintiff and members of the New York Subclass suffered an ascertainable los caused

by Defendant’s misrepresentations because they paid more for the American Tuna Products than

they would have had they known the truth about the products.

       91. On behalf of himself and other members of the New York Subclass, Plaintiff seeks to

enjoin Defendant’s unlawful acts and practices described herein, to recover their actual damages

or five hundred dollars, whichever is greater, three times actual damages, and reasonable

attorneys’ fees.



                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of a Class and Subclass of all others

similarly situated, seeks a judgment against Defendant, as follows:

       A.      For an order certifying the Class under Rule 23 of the Federal Rules of Civil

               Procedure and naming Plaintiff as representative of the Class and Plaintiff’s

               counsel as Class Counsel to represent members of the Class;

       B.      For an order declaring the Defendant's conduct violates the statutes referenced

               herein;

       C.      For an order finding in favor of Plaintiff and the Class on all counts asserted

               herein;

       D.      For compensatory, statutory and punitive damages, as applicable, in amounts to

               be determined by the Court and/or jury;

       E.      For prejudgment interest on all amounts awarded;



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        F.       For an order of restitution and all other forms of equitable monetary relief;

        G.       For injunctive relief as pleaded or as the Court may deem proper;

        H.       For an order awarding Plaintiff and the Class their reasonable attorneys’ fees,

                 expenses and costs incurred in bringing this lawsuit;

        I.       Any other relief the Court may deem appropriate.



                                 DEMAND FOR TRIAL BY JURY

        Plaintiff, individually and on behalf of all others similarly situated, hereby demands a

jury trial on all claims so triable.



Dated: November 4, 2021



                                        Respectfully submitted,

                                        By: /s/ Robert L. Kraselnik (RK 0684)


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